         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2504
                  LT Case No. 2019-CA-002279
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CHARLES J. GRAPSKI,

    Appellant,

    v.

CITY OF ALTAMONTE SPRINGS,
FLORIDA, ENCOMPASS HEALTH
REHABILITATION HOSPITAL of
ALTAMONTE SPRINGS, FLORIDA,
LLC, JILL JORDAN, JEFFREY
GARNER, and CHARLES E.
GRAPSKI,

    Appellees.
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On appeal from the Circuit Court for Seminole County.
Jessica J. Recksiedler, Judge.

Randy B. Lanigan, of Lanigan &amp; Lanigan, PL, Winter Park, for
Appellant.

Patricia M. Rego Chapman, of Dean, Ringers, Morgan &amp; Lawton,
P.A., Orlando, for Appellees, City of Altamonte Springs and
Jeffrey Garner.

No Appearance for Remaining Appellees.

                        August 23, 2024
PER CURIAM.

     Charles J. Grapski appeals two orders of dismissal. The order
rendered July 12, 2023, dismissed all remaining claims against the
City of Altamonte Springs. We have jurisdiction, see Fla. R. App.
P. 9.110(k), and affirm.

     The order rendered June 26, 2023, granted in part and denied
in part Jeffery Garner’s motion to dismiss. Because the issue
raised on appeal overlaps and is interrelated with other pending
claims, we dismiss the appeal of order rendered June 26, 2023, as
premature. See Pohlman v. Aqua Condo. Devs., Ltd., 992 So. 2d
288, 289 (Fla. 1st DCA 2008).1

    AFFIRMED in part; DISMISSED in part.

LAMBERT, KILBANE, and MACIVER, JJ., concur.




    1   Although jurisdiction was not raised by either party, “we
have an independent duty to determine whether we have appellate
jurisdiction.” Coast to Coast Process Piping, LLC v. Liquid
Consulting, Inc., 357 So. 3d 1238, 1239 n.1 (Fla. 5th DCA 2022)
(quoting Almacenes El Globo De Quito, S.A. v. Dalbeta L.C., 181
So. 3d 559, 561 (Fla. 3d DCA 2015)).


                                2
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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